 Case 4:21-cv-00033-ALM Document 12 Filed 03/25/21 Page 1 of 3 PageID #: 524




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

   TIMOTHY JACKSON,             §
       Plaintiff,               §
                                §
  v.                            §        Civil Action No. 4:21-cv-00033
                                §
  LAURA WRIGHT, et. al.,        §
       Defendants.              §
________________________________________________________________

 DEFENDANTS’ UNOPPOSED MOTION FOR EXTENSION TO FILE A RESPONSE
             TO PLAINTIFF’S DISCOVERY MOTION [DKT. 7]
________________________________________________________________

       Defendants file this unopposed motion requesting a seven-day extension to April 6, 2021,

of deadline to file a response to Plaintiff’s Motion for Expedited Discovery or, in the Alternative,

Petition to Conduct Depositions to Perpetuate Testimony (the “Discovery Motion”) [Dkt. 7]. In

support of this request, Defendants state the following:

       1.      Plaintiff filed his Original Complaint on January 14, 2021.

       2.      On March 9, 2021, Plaintiff filed his Discovery Motion. Plaintiff relied on the

Court’s CM/ECF system for service of the motion on Defendants but because Defendants had not

yet appeared in this case at that point Defendants did not receive service of the Discovery Motion.

On March 16, 2021, Plaintiff served Defendants with the Discovery Motion and filed an amended

certificate of service reflecting the same [Dkt. 9]. Defendants’ response deadline is currently

March 30, 2021.

       3.      The undersigned counsel seeks a seven-day extension of the deadline to file

Defendants’ response to Plaintiff’s Discovery Motion to April 6, 2021.
 Case 4:21-cv-00033-ALM Document 12 Filed 03/25/21 Page 2 of 3 PageID #: 525




       4.      Federal Rule of Civil Procedure 6(b)(1)(A) provides that the Court may extend

filing deadlines at its discretion. Between the time of service of the Discovery Motion and the

deadline to respond, undersigned counsel has had multiple deadlines to file briefing in other

matters as well as pre-planned family vacation. The undersigned counsel seeks this extension of

time for good cause shown and in the interest of justice, and not to cause unnecessary delay. No

party will be prejudiced if the extension sought herein is granted.

       5.      Plaintiff’s counsel has been contacted regarding the substance of this motion and

has confirmed that he does not oppose the extension.

       6.      For the reasons stated above, Defendants request that this Court extend the

deadline to file a response to Plaintiff’s motion for expedited discovery to April 6, 2021.

                                               Respectfully submitted,

                                               KEN PAXTON
                                               Attorney General of Texas

                                               BRENT WEBSTER
                                               First Assistant Attorney General

                                               GRANT DORFMAN
                                               Deputy First Assistant Attorney General

                                               SHAWN COWLES
                                               Deputy Attorney General for Civil Litigation

                                               THOMAS A. ALBRIGHT
                                               Chief, General Litigation Division

                                               /s/ Matthew Bohuslav
                                               MATTHEW BOHUSLAV
                                               Texas Bar No. 24069395
                                               Assistant Attorney General
                                               Office of the Attorney General

                                                  2
Case 4:21-cv-00033-ALM Document 12 Filed 03/25/21 Page 3 of 3 PageID #: 526




                                              P.O. Box 12548, Capitol Station
                                              Austin, Texas 78711-2548
                                              Phone: 512-463-2120
                                              Fax: 512-320-0667
                                              matthew.bohuslav@oag.texas.gov
                                              Attorneys for Defendants


                            CERTIFICATE OF CONFERENCE

         I, the undersigned attorney, hereby certify to the Court that on March 23, 2021,
opposing counsel, Jonathan F. Mitchell, was contacted regarding this motion and he indicated
that Plaintiff does not oppose the requested relief.

                                              /s/ Matthew Bohuslav
                                              MATTHEW BOHUSLAV
                                              Assistant Attorney General


                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 25th day of March, 2021, I electronically filed the foregoing
document with the Clerk of the Court using the CM/ECF system, which automatically provided
notice to the following CM/ECF participants:

Jonathan F. Mitchell
Mitchell Law, PLLC
111 Congress Avenue, Suite 400
Austin, Texas 78701
jonathan@mitchell.law

Michael Thad Allen, Esq.
Allen Law, LLC
PO BOX 404
Quaker Hill, CT 06375
m.allen@allen-lawfirm.com
Attorneys for Plaintiff

                                              /s/ Matthew Bohuslav
                                              MATTHEW BOHUSLAV
                                              Assistant Attorney General



                                                3
